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                   UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION

________________________________                        Case No.: 23-CR-539
UNITED STATES OF AMERICA,
            Plaintiff,
v.                                                      Judge Patricia Gaughan

WALTER SORNOZA,
            Defendant.
_______________________________/


   EMERGENCY UNOPPOSED MOTION TO ALLOW MEDICAL TREATMENT

 COMES NOW WALTER SORNOZA, by and through undersigned counsel, Philip L.

 Reizenstein, Esq., Reizenstein and Associates, PA, and hereby files this Emergency

 Unopposed Motion to Allow Medical Treatment.          In support thereof, counsel for Mr.

 Sornoza would aver as follows:

      1. Walter Sornoza has a painful dental infection on the upper left side of his mouth.

          He is in extreme pain.

      2. Mr. Sornoza has repeatedly asked for but has been denied medical treatment for

          the dental infection.

      3. Treatment is being refused without a court order.

      4. Counsel has conferred with AUSA Margaret Sweeney, Esq. who does not oppose

          this motion.


WHEREFORE, the defense moves this Court to enter an Order to Allow Medical Treatment

for Walter Sornoza.


                                   Respectfully Submitted,

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